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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA, et al.,

                               Plaintiffs,           Case No. 1:20-cv-03010-APM

 v.                                                  HON. AMIT P. MEHTA
 GOOGLE LLC,

                               Defendant.


 COLORADO, et al.,

                               Plaintiffs,           Case No. 1:20-cv-03715-APM

 v.                                                  HON. AMIT P. MEHTA
 GOOGLE LLC,

                               Defendant.



        DEFENDANT’S UNOPPOSED MOTION TO CORRECT THE RECORD

       Defendant Google LLC respectfully moves to correct the trial record to fix apparent

transcription errors. Pursuant to Local Rule 7(m), the Parties have met and conferred, and no

Party opposes this motion.

       The trial record should be corrected as indicated in the Correction column in the table

below. Transcription errors have been crossed through and the corrected text, or text that was

incorrectly omitted and should be added, has been underlined.




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 Trial    Start   Start   End    End                            Correction
Session   Page    Line    Page   Line

9.12 PM   165      19     165    21         A. It's a little strange, that sentence, because he
                                            said: It could be devastating for Yahoo! and
                                            Microsoft to lose HP spending setting, but it
                                            could be just great for them as well.

9.12 PM   186      10     186    12         Q. Okay. And let's go to UPX2083page -2083.
                                            And you write: General purpose is a tough
                                            business. Is that right?

9.12 PM   205      7      205     7         Q. Sir, we're going to go to Exhibit 72 UPX0472.


9.13 PM   539      17     539    18         But, Apple podcast still has multi-fault multi-fold
                                            share – as you can see there, Your honor

9.13 PM   545      9      545    10         And there was also multi-fault multi-fold, many,
                                            many times increase in Bing’s searcher searches
                                            as the result of that.

9.14 PM   747      14     747    15         by these authors to help companies think about
                                            how to setting up mistakes set up defaults

9.14 PM   853      18     853    18         Q. The first page of UPX10111 UPX1011 is an e-
                                            mail from

9.15 AM   885      1      885     2         Yesterday you were referring to partners that
                                            elect to load GMS. Did you mean OEMs that
                                            signed assigned a model MADA?

9.15 AM   892      21     892    21         MR. McLELLEN: THE WITNESS: Sure.

9.15 AM   915      12     915    13         Q. Let's go to JX21 JX71, which is in evidence.
                                            And this is the Samsung 2020 RSA, correct?

9.15 AM   924      23     924    25         Unenhanced On enhanced tier devices, Samsung
                                            is prohibited from implementing, preloading, or
                                            post loading any alternative search service.

9.18 PM   1191     10     1191   11         A. Yes. He said exactly what I was saying, which
                                            is that the two options auctions don't compete, but
                                            the whole reason that we were

9.18 PM   1245     19     1245   19         BY MR. DAHLQUIST CAVANAUGH:


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9.19 AM   1354   12    1354    12       As it turns out, it was kind of a pressing prescient
                                        notion.

9.19 AM   1436   4     1436    5        Q The fourth bullet states, “Most Amazon
                                        merchants are websites websiteless and never
                                        make it on to Google. Both types of

9.19 AM   1436   11    1436    16       A Most Amazon merchants are website lists
                                        website-less. Most Amazon merchants are
                                        website lists websiteless. That doesn't mean that
                                        most Amazon advertisers are websites lists
                                        websiteless nor does it mean that most of the
                                        large merchants on Amazon that use their
                                        advertising products and form the majority of
                                        their spend are website lists websiteless.

9.19 AM   1436   19    1436    20       it states that "Most Amazon merchants are
                                        website lists websiteless and never make it on to
                                        Google," correct?

9.19 AM   1436   22    1436    23       Q And you agree that most Amazon merchants
                                        are website lists websiteless and never make it on
                                        to Google, correct?

9.20 PM   1826   18    1826    18       A. Let's see. I think probably rank brain -- so
                                        our main models, rank brain, deep rank, rank
                                        imbed RankEmbed. I think those, but

9.20 PM   1845   24    1846    5        Q. The next two columns are rank imbed
                                        RankEmbed and rank BERT. What's the
                                        relationship between those systems? A. So sort of
                                        as rank brain and deep rank kind of form a natural
                                        pair, rank imbed RankEmbed and rank BERT are
                                        a natural pair. Rank BERT was later renamed
                                        rank imbed RankEmbed version 2. So in terms of
                                        their externally visual behavior, they're the same.
                                        And we pulled out rank imbed RankEmbed and
                                        stuck in rank BERT, pulled out version 1 and put
                                        in version 2 subsequently, because it was
                                        significantly higher performing.

9.20 PM   1846   8     1846    10       A. So yeah, I think for me this is really striking.
                                        When we went from rank imbed RankEmbed, we
                                        were using about 100 billion training samples.

9.21 AM   1984   8     1984    11       Yes, phone screen on the left, where a user then
                                        could understand, try to understand their search is

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                                        not more private than private browsing mode
                                        unless they activated private search and private
                                        browsing.

9.21 PM   2095   18    2095    25       No. I mean, if you're referring to the actual
                                        default -- this is like the Judge's questions earlier
                                        – versus an opt-in, we early on -- we actually
                                        asked Google Apple in 2014 -- this didn't come
                                        up in the deposition -- when they were renewing
                                        their Apple -- their Google contract, would they
                                        consider making a carve out for private browsing
                                        mode where we could be the default -- this is way
                                        earlier, and we got shut down pretty hard.

9.21 PM   2150   24    2150    25       I would not say that exactly. We have this feature
                                        called bangs which enable you to quickly search
                                        on other sites, which

9.26 AM   2507   12    2507    13       privacy is of utmost importance, but you can’t to
                                        do privacy by providing an inferior product

9.27 AM   2728   8     2728    8        Q Let's go back to DX270 UPX270.

9.27 AM   2783   6     2783    6        my job was supporting the video BD
                                        organization, lasted for

9.27 AM   2797   4     2797    4        send you to the home Apple app view, you will
                                        then have to

9.27 AM   2818   12    2818    12       So we're going to UPX069 UPX609 and we'll
                                        offer

9.27 AM   2821   21    2821    21       A I do not know because I am not on the To line
                                        on this

9.27 PM   2868   15    2868    16       their services present. They could have their
                                        widget on our home screen of the device, on
                                        minus one screen. There could be an

9.27 PM   2868   24    2868    24       Let’s look at .1 point 1, which Mr. Dintzer
                                        directed you to.

9.27 PM   2869   7     2869    7        Let’s look at .2 point 2, the one about Samsung
                                        RSA

9.27 PM   2869   23    2869    23       would it have affected the 30 percent number in
                                        .2 point 2?

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9.27 PM   2869   25    2870    1        Q. If you corrected the mistakes in both .1 point 1
                                        and .2 point 2, how would that have affected .3
                                        point 3?

9.27 PM   2877   24    2877    25       current position. What role, if any, did you have
                                        in the finding when defining what an alternative
                                        search service is under an RSA?

9.27 PM   2881   20    2881    20       here simplified exemplified by S-Finder. What is
                                        the difference, if any,

9.27 PM   2881   25    2881    25       experience a query -- a search query in Google
                                        app or Chrome, you get

9.27 PM   2895   8     2895    9        It is some universal apps universe of apps that
                                        you have deals with?

9.27 PM   2960   21    2960    22       A. I mean, we had antidotal anecdotal, we didn't
                                        have any data, like an experiment data that
                                        suggested the impact.

9.27 PM   2960   22    2960    23       But it was antidotally anecdotally confirmed that
                                        there as not

9.27 PM   2971   13    2971    14       Q. In fact, it's an exert excerpt that was taken out
                                        of a board presentation and made a separate
                                        document?

9.27 PM   2975   14    2975    14       names to return and so there wasn't considered
                                        considerable competition.

9.27 PM   2975   15    2975    15       But in this sold old style, with focus on device
                                        navigation

9.28 AM   3047   16    3047    21       Q And here, Samsung says, "As there is our own
                                        search on and recommendation solution/roadmap
                                        and S Finder being developed by Samsung R&D,
                                        we have found it will be potentially conflicting
                                        with third-party solutions solution, such as
                                        Branch, so we are not so, unfortunately, we’re not
                                        in a position to move forward as you propose
                                        proposed."

10.2 AM   3492   10    3492    11       The thing with search in particular, and I would
                                        ISA even say consumer Internet properties, the
                                        virtuous cycle



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10.2 AM   3512   15    3512    17       now at some level, Bing and Google and anybody
                                        else who wants to compete in search has to do for
                                        core search ranking and be republic public with
                                        this

10.2 AM   3600   19    3600    20       Q. OpenAI’s GP GPT technology has led Bing’s
                                        search quality to reach an all time high, correct?

10.2 PM   3634   11    3634    12       Bing has grown to have more than 100 (sic) 100
                                        million daily active users

10.2 PM   3666   21    3666    22       A. Yes, I grew up in India. I have a bachelor of
                                        technology in computer science from IIT IDE
                                        Madras in Chennai,

10.2 PM   3721   5     3721    5        On PX1023 PSX1023, on the first page

10.3 AM   3782   2     3782    2        uses things like query ClicData click data in order
                                        to figure out the

10.3 AM   3795   1     3795    1        Sit It was for our expertise in crawl

10.3 PM   3923   7     3923    9        Q. And would you agree, Mr. Lowcock, that
                                        search ads can serve multiple purposes that are
                                        identified in the traditional purchase file funnel?
                                        Would you agree with that?

10.3 PM   3948   15    3948    15       A. Clients look at ROI and ROA as return on ad
                                        spend ROAS, return on ad spend.

10.4 AM   4102   7     4102    10       Would you agree that some of the ads quality
                                        launches that are done by the ads quality team can
                                        directly impact pricing through tunings of
                                        Google’s option auction mechanisms?

10.4 AM   4159   23    4159    24       cost Google billions to “ones which “ultimate
                                        ought to meet user needs better and impact
                                        Google Search ads by revenue by only” -- and it’s

10.4 AM   4199   14    4199    17       From a user perspective, interesting signals in our
                                        function are things like predict the click-through
                                        rate predicted click-through rate. Predict the
                                        click-through rate Predicted click-through rate is
                                        trying to predict the likelihood of a user to click
                                        on ads.




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10.4 PM    4239   11    4239    12       A. So in general, if one were to prove improve
                                         their ad’s quality, I would expect for the ad rank
                                         or LTV score to increase.
10.5 AM    4405   3     4405    4        unique bid strategies that have both what we call
                                         interlay intraday bidding, which is our in-house
                                         bidder, that sets, from the

10.5 AM    4459   22    4459    22       . . . we call them one shooters sheeters,
                                         sometimes they’re longer.

10.5 AM    4487   14    4487    14       of Dispersion Capital, which is an early stage
                                         precede pre-seed and

10.5 AM    4504   14    4504    14       Q The second bullet says that "Peter Koo, Yejin
                                         Injong Lee,

10.5 AM    4508   21    4508    21       A So there's a team within this entity called SCA
                                         SEA.

10.5 AM    4517   13    4517    13       Q And you referenced Harry. Is that Harry Eun
                                         Yoon?

10.5 AM    4517   14    4517    14       A Harry Eun Yoon, correct.

10.5 PM    4558   16    4558    16       March 8th, 2019 from Hankil Hongyul Yoon of
                                         Samsung to Colin Behr at

10.5 PM    4592   14    4592    14       ever truly gave up on creating the carve-out to
                                         stay per se.

10.6 AM    4732   15    4732    16       And so with this functionality, as supposed
                                         opposed to saying, go do the work twice, we
                                         offered this ability, like

10.10 AM   4910   2     4910    2        Q. Not your all kinds of products, correct?

10.10 PM   5071   12    5071    13       I think it was related to getting some patent piece
                                         peace across product lines, operating systems.

10.10 PM   5077   14    5077    14       He was head of sales search, who I reported to.

10.11 PM   5358   16    5358    17       MR. SOMMER: Your Honor, under the same
                                         caveat, we offer DXD13.09044 DXD13.0044 in
                                         evidence under FRE 1006.

10.11 PM   5358   20    5358    20       (Exhibit DXD13.09044 DXD13.0044 received
                                         into evidence.)


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10.12 AM   5479   15    5479    16       When we talk about expanding a match type, are
                                         we talking about expanding exact goes to phrase
                                         expanding exact match to phrase or are we

10.12 PM   5590   24    5590    24       When I say "display ads," we're not
                                         encompassing social

10.12 PM   5592   14    5592    15       by watching one or more videos, I sent out an
                                         intense intent signal that under some algorithm
                                         caused that ad to be sent to me?

10.12 PM   5592   18    5592    18       Q. Let's talk about intense intent signals for a
                                         second.

10.12 PM   5630   12    5630    12       And then it will optimize within those as ad
                                         formats.

10.16 PM   5900   16    5900    19       Q. Have you done any analysis in this case at all
                                         to try to gather information about all of the
                                         intense intent signals that a social media site like
                                         a Facebook or an Instagram or TikTok can gather

10.16 PM   5900   22    5900    24       have you tried to study and analyze all of the
                                         intense intent signals that a social media site like
                                         Facebook or Instagram or TikTok gather

10.16 PM   5904   7     5904    8        extent to which Pinterest is able to gather
                                         significant user intense intent signals to allow
                                         them to market and sell products?

10.17 AM   6082   18    6082    20       deal wouldn’t end up -- you know, the default in
                                         Mozilla wouldn't matter, you still see -- and I
                                         showed this, you still see that Mozilla Yahoo!,
                                         despite any switches away, did gain share as

10.17 AM   6107   18    6107    19       you pay for the license of the – of Google Labs
                                         apps, like the Play Store

10.17 PM   6202   12    6202    14       A. So it started out -- as it says here, it started out
                                         between -- well, $30 $13 million annually. That
                                         was the amount they were asking for.

10.24 PM   6922   25    6923    1        But they wouldn't have bought those
                                         advertisements if they believed it made no
                                         financial sense to do so, correct?




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10.24 PM   6923   8     6923    10       You agree that for these SEPs SVPs we talked
                                         about, the Tripadvisors and the Expedias and the
                                         Bookings, consumers can go to them and do
                                         searches, right?

10.24 PM   6923   17    6923    18       Professor, I've handed you what's marked as
                                         DFD20 DXD20.

10.24 PM   6930   13    6930    14       Let's look at -- this is a new exhibit, it's DX20.32
                                         DX2032, which is an excerpt of the deposition
                                         testimony --

10.24 PM   6935   2     6935    2        The market final marketing funnel is a conceptual
                                         framework, right?

10.24 PM   6945   7     6945    10       And so what you did is you went out there and
                                         you found something else that said, okay, this
                                         compares display with retargeted display and you
                                         sort of did a transit of transitive property and put
                                         that on the middle column?

10.26 AM   7305   9     7305    10       uses it to point to a client plant that seems to have
                                         a disease and say, How do I fix this?

10.26 PM   7376   23    7376    23       for PCDR pCTR prediction, are instances where
                                         our founder's

10.26 PM   7404   17    7404    18       I think, introduced the previous December, and
                                         immediately got caught up in the popular site
                                         popular zeitgeist -- you know, a thing you

10.27 AM   7601   4     7601    5        The first was during the soccer workup world
                                         cup, and what we saw was a buildup between the
                                         quarter final and then the semifinal.

10.27 AM   7601   15    7601    18       I bring this up because the second instance where
                                         we got close to running out of the capacity was
                                         actually the cricket workup world cup where a
                                         large fraction of a billion people in India were
                                         issuing cricket queries.

10.30 AM   7639   23    7639    24       I used to go get rissoles medical results for my
                                         mom

10.30 AM   7639   25    7640    1        sometimes the rissoles results wouldn't be ready.




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10.30 AM   7657   5    7657     5    We had been doing both modern MADA and
                                     RSA

10.30 AM   7660   18   7660    19    Given Apple designs then to an the end-to-end
                                     experience

10.30 AM   7661   19   7661    20    He had indicated it was a very comparative
                                     competitive deal dynamic.

10.30 PM   7768   13   7768    13    Let me put up DX1139 PSXD-11.39, our expert's
                                     calculation.

10.30 PM   7770   9    7770     9    Just go to DX1141 PSXD-11.41.

10.30 PM   7780   21   7780    23    Both Apple benefits and sells more iPhones by
                                     having their brand associated with the quality and
                                     the use of user happiness with Google Search.

10.30 PM   7783   1    7783     2    Let's go to DX1139 PSXD-11.39 and see what
                                     actually happened.

10.30 PM   7787   24   7787    25    I mean, we are have a deal, and for all the reasons
                                     I stated before, let me repeat

10.30 PM   7793   18   7793    18    Google's policy of constantly shrinking research
                                     free search

10.30 PM   7806   9    7806    10    And it's always been our true knot north and will
                                     continue to be so.

10.30 PM   7830   13   7830    15    So, we come up with a bunch of other words to
                                     add to the document that explain it in other terms
                                     in than the exact words in the document.

10.30 PM   7858   13   7858    16    And if you look at the actual numbers on the low
                                     mobile sample, it's -- you can't tell it's different
                                     from zero. The This one, similar. You can't tell
                                     it's different from zero.

10.31 AM   8008   24   8008    25    During COVID; it was the beginning of COVID.
                                     I think May or June of 2000 2020.

10.31 AM   8016   1    8016     2    But also, it was directed to word towards -- really
                                     always thinking about innovation




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11.2 AM   8382    6    8382     7    talk some about are what I call the circle and
                                     small of market smallest-market principles. The
                                     circle principle just says when you're

11.2 AM   8382   12    8382    13    And small of the market smallest-market
                                     principle just says basically define as many
                                     competitors as you need to determine what
                                     principally

11.2 AM   8465   16    8465    16    THE COURT: Auction pricing vortexed for text
                                     ads. Maybe I

11.2 PM   8526    4    8526     5    talked about this earlier, and you asked. There’s
                                     clearly commission competition between, say,
                                     Google and Amazon for queries. But

11.3 AM   8741    2    8741     2    Q. Okay. Let’s go to the next page. That’s
                                     DXD38 DXD-29.038.

11.3 AM   8771   17    8771    17    Q. Let’s go to DXD59 DXD-29.059.

11.6 PM   8963   24    8963    25    MR. CAVANAUGH: Also, Skechers document,
                                     which was PX04219. PSX01249.

11.6 PM   8992    9    8992     9    And for the record, this is DXD2931.

11.6 PM   9044   16    9044    17    It says: Privacy is as a future feature/products
                                     making meaningful change.

11.6 PM   9068   21    9068    21    e.g., stop personalized ads from ^Me for me
                                     button

11.6 PM   9088   12    9088    13    So we will provide, tomorrow, a replacement
                                     version tomorrow that is identical but marked
                                     DXD301.

11.7 AM   9200   22    9200    24    I think, for example, in our Cambridge, Boston
                                     office, we had at least an annual, if not nice twice
                                     a year, summit that was a technical summit that
                                     we would have with booking…

11.7 PM   9336   10    9336    13    There may -- and I don't know for certain, there
                                     could have been a wind-down provision that said
                                     we paid for, I don't know, 36 3 to 6 months after
                                     the term of the deal.




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11.8 AM    9429   7    9429     7    And we want our partners to have in line aligned

11.8 AM    9430   19   9430    19    A I'm I wouldn't

11.8 AM    9431   15   9431    15    ecosystem with without the revenue share
                                     agreement that we have and

11.8 AM    9451   4    9451     4    Q So let's go to Slides 4 to Slide ending in 409.
                                     And, again,

11.8 AM    9459   14   9459    14    agreements had expired recently prior to that 27
                                     [sic] 2017, 2018

11.8 AM    9477   15   9477    15    Q And when you look at the .2 point 2, and,
                                     again, I don't

11.8 AM    9478   4    9478     4    Q And looking at that .2 point 2, that 30 percent
                                     of revenue

11.8 AM    9484   12   9484    12    does better, the other does better. It has optional
                                     operational

11.8 AM    9490   7    9490     7    Q Could Motorola, if it so chose, but put a
                                     competing

11.8 AM    9508   23   9508    23    Q That really ads adds to the user experience?

11.13 AM   9699   6    9699     6    even independent ad angles elements, I just want
                                     to go on the

11.13 AM   9710   18   9710    18    And how did the overall margin stayed fix stay
                                     fixed?

11.13 AM   9729   9    9729    11    Apple. There’s a lot of the search that doesn’t go
                                     through the default that even if I don’t even –
                                     false default is not my game, I can’t play that
                                     game yet. There’s a lot of volume

11.13 AM   9741   15   9741    17    externalities are all over the place. When I
                                     intermarket enter a market and I raise the demand
                                     for an input, that raises the price of inputs often.
                                     If there’s upward sloping supply, more

11.13 AM   9760   22   9760    23    given that a lot of the people go to the shelf
                                     anyway. What we see don't see is much choice
                                     there at all.



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11.13 AM   9762    25   9763    1     of the volume. But in this case, the guy with the
                                      default is only getting 814 14, doesn’t look like
                                      an exclusive. Very

11.13 PM   9833    16   9833    17    choice screen. It was various choice screens.
                                      This is sort of the end of that, the September to
                                      December 2001 2021. And these are

11.13 PM   9837    7    9837    7     Yeah. The horizontal access axis is the

11.13 PM   9848    9    9848    10    A. That’s the next slide. Remember, on that
                                      previous slide we had those force four groups?
                                      And, so, I list some of the benefits

11.13 PM   9848    23   9848    24    That is, for a given price point of form phone,
                                      they tend to generate more searchs searches.

11.13 PM   9856    6    9856    7     upgrades, updates. And, again, this is one where
                                      Apple is virtually vertically integrated, so if they
                                      want to update their Apple

11.13 PM   9878    24   9878    24    recurring at current qualities

11.13 PM   9901    6    9901    6     Well, one of the ways you get a really hard high
                                      R&D to

11.13 PM   9904    9    9904    9     that’s what you would expect when you fix
                                      switch to retail marketing

11.13 PM   9940    9    9940    10    Yeah. We didn’t have the date data, really, until
                                      post I wrote my report.

11.14 AM   10017   6    10017   7     only some aspects that they serve themselves
                                      through, say, Safari suggests Suggest or through
                                      Spotlight and things like that, I

11.14 AM   10018   6    10018   6     No, I haven’t decide [phon.] opined on that
                                      specifically.

11.14 AM   10031   23   10031   24    Yeah, Microsoft could go grow enormously on
                                      Desktop just by taking share from Google.

11.14 AM   10040   23   10040   24    search competitor, it’s really a – it does
                                      something different. It’s a non-device an on-
                                      device search.

11.14 PM   10174   14   10174   14    Right? So they’re getting placement of the
                                      widget in and Chrome and GSA in a folder in the

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                                          MADA. So that payment is not going to

 11.16 PM   10591    23    10591   25     any analysis of whether a smartphone preloaded
                                          with a search engine other than Google would
                                          mark make that smartphone more competitive
                                          with Apple’s iPhone?

 11.16 PM   10603     5    10603   7      Q. Sir, there were in no revenue share payments
                                          made by anybody, any of the rivals to Google
                                          when they were chosen in the choice screen,
                                          correct?

 11.16 PM   10605    21    10605   23     Q. Have you seen evidence in this case as to
                                          whether browser providers believe that
                                          preventing Google from competing for browser
                                          defaults would have an impact on browser
                                          competition?

 11.16 PM   10606     2    10606   4      Q. Have you seen evidence in this case as to
                                          whether browser providers believe that
                                          preventing Google from competing for browser
                                          defaults would have an impact on browser
                                          competition?

 11.16 PM   10625    24    10625   25     for an exclusive, those are models in which the
                                          papers, the authors are studying what the effect is
                                          of that on competition.

 11.16 PM   10626    20    10626   22     terms of the amount of the revenue share. I don’t
                                          remember seeing, like a draft contractor contract
                                          or anything, so I can’t really say.



Dated: December 11, 2023                Respectfully submitted,

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